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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

NETLIST, INC.,                      )
                                    )
            Plaintiff,              )
                                    )   Case No. 2:22-cv-293-JRG
      vs.                           )
                                    )   JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO., LTD.;      )   (Lead Case)
SAMSUNG ELECTRONICS AMERICA,        )
INC.; SAMSUNG SEMICONDUCTOR         )
INC.,                               )
                                    )
            Defendants.             )

NETLIST, INC.,                      )
                                    )
            Plaintiff,              )
                                    )
                                        Case No. 2:22-cv-294-JRG
      vs.                           )
                                    )
                                        JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC.;            )
MICRON SEMICONDUCTOR                )
PRODUCTS, INC.; MICRON              )
TECHNOLOGY TEXAS LLC,               )
                                    )
            Defendants.             )

      PLAINTIFF NETLIST, INC.’S OPPOSITION TO SAMSUNG’S MOTION
                           TO STAY (DKT. 187)
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I.      INTRODUCTION

        Samsung’s second attempt at a stay should be denied. This Court is the only forum that can

decide the entire dispute between the parties, i.e. whether (1) the Accused Products infringe; (2) the

Accused Products are covered by the license in the Joint Development and License Agreement

(“JDLA”); and (3) Netlist properly terminated the JDLA as a result of Samsung’s breach of its

mandatory supply obligation. All of these questions are squarely before this Court because Samsung

has pled as an affirmative defense that it was licensed under the JDLA, and termination was improper.

        The Central District of California (the “Central District”) is only considering number (3)

above, whether the termination is effective. Samsung wants to get away from East Texas because it

has adopted opposite positions in the Ninth Circuit and this Court regarding the scope of Netlist’s

license grant in the JDLA. Granting the stay will allow Samsung to perpetuate this tactic. Three

sections of the JDLA are at issue. First, the recitals, which are produced in their entirety below, include




Ex. 1 (JDLA) at 1. Second, the Samsung supply obligation, which makes no reference to the

collaboration. Netlist took the position that the supply obligation was not limited to the collaboration;

and, therefore, when Samsung refused to supply, it was in material breach. The literal language of

Samsung’s supply obligation is not limited to the collaboration:




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Id. at 6. In the Ninth Circuit, Samsung claimed that, in light of the recitals, the supply obligation was

limited to the collaboration. Specifically, Samsung quoted recital four:



            Id. at 1.

        “[T]he recitals are very clear -- and parties put recitals in agreements to make sure
        language isn’t tortured down the road by lawyers and courts, right? Here’s what our
        purpose is, interpret this agreement consistent with our purpose. And when you look
        at the recitals, what does it say about the licenses? Whereas in connection with their
        collaboration hereunder, the parties wish to grant to each other a cross-license under
        each party’s patents. The licenses are being given in connection with the
        collaboration. That’s the joint development project.”

Ex. 2 (9th Cir. Hearing Tr.) at 15:10-19. This specific argument was relied on by the Ninth Circuit to

find the supply obligation ambiguous: “Read as an integrated whole, however, the contract’s apparent

purpose as derived from its title, structure, and related provisions make § 6.2 ‘reasonably susceptible

of more than one interpretation.’ . . . [W]e remand to the district court to consider in the first instance

whether the extrinsic evidence ‘creates a genuine issue of material fact’ as to the provision’s meaning.”

Netlist Inc. v. Samsung Elecs. Co., 2023 WL 6820683, at *2 (9th Cir. Oct. 17, 2023).1

        The third implicated section of the JDLA, the license grant, like the supply clause, makes no

reference to the collaboration.



        1
           As the dissent noted, Samsung never asserted that its supply obligation was ambiguous until
after it lost summary judgment in the Central District. Id. at 3, n.1 (“The majority’s decision relies on
Samsung’s made-for-litigation theory that § 6.2 is ambiguous.”).



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Samsung told this Court in Samsung I and what it told the Ninth Circuit is not an attack on the integrity

of counsel in either forum. Samsung made the strategic decision to change its position. But having

now succeeded in the Ninth Circuit based on the new position, there are consequences.

        The JDLA defines the Joint Development Product as NVDIMM-P. Ex. 1 (JDLA) at § 2

                                                                            The Accused Products in this

case (DDR4 LRDIMMs and RDIMMs) and in Samsung I (DDR4 LRDIMMs, DDR5 SoDIMMs,

UDIMMs, RDIMMs, and HBMs) are not licensed because none of them are                             Samsung’s

corporate representative has admitted that



        The scope and enforceability of the JDLA are expressly pled as an affirmative defense in this

case. All discovery necessary to try this defense is either completed or has been requested. In light of

the above, the recognized factors for granting a discretionary stay favor denial. First, a stay would

substantially prejudice Netlist by preventing it from timely enforcing its patent rights and profoundly

disadvantage Netlist by allowing Samsung to take entirely inconsistent positions regarding the scope

of the license and supply clause in different courts, given that the jury in California will not be deciding

Samsung’s license defense. Second, a stay will not simplify this case, because Samsung can “win” the

Central District action on supply scope but still lose its license defense here based on its admissions

about license scope. Third, a trial date has been set in this case, and none has been set in the Central

District. Finally, this Court is the only one that can decide the parties’ entire dispute.

II.     FACTUAL BACKGROUND

        A.      Samsung’s License Defense Will Resolve All Issues

        This action was filed on August 1, 2022, and it is set for trial on April 15, 2024. The products

accused of infringement are DDR4 LRDIMMs and RDIMMs (the “Accused Products”). Fact

discovery is set to close on November 13, 2023, and the Deadline to Substantially Complete



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Document Production was over two months ago on August 24, 2023. Dkt. 55. Netlist has invested

significant resources and has diligently prosecuted this Action. Netlist has produced 50,712 documents

spanning 426,326 pages, subpoenaed 12 third parties, and expended significant resources in preparing

opening expert reports (due November 13, 2023). Sheasby Decl., ¶ 2. The Court has also expended

material judicial resources by holding a several-hour claim construction hearing on September 26, 2023

and deciding summary judgment on the issue of intervening rights Dkt. 184.

       Samsung has asserted an “express license” affirmative defense in this action. Dkt. 145 at 24-

27. Samsung asserts that the JDLA covers the Accused Products:

       Netlist granted SEC and its subsidiaries, including SSI, a perpetual, paid-up, worldwide,
       non-exclusive license to all patents owned or controlled by Netlist or any of its
       subsidiaries having an effective first filing date on or prior to November 12, 2020. All
       of the Patents-In-Suit have effective first filing dates prior to November 12, 2020. The
       license extends through the expiration of the last to expire of the licensed patents.

Id. at 25. Samsung asserts in this Court that the consideration for this license was an $8 million

payment. Id. However, in the Ninth Circuit, Samsung disclaimed this position, stating that the $8

million was not a license fee, but was instead a part of the joint development project even though it

makes no reference to the collaboration:

       There’s other provisions in the contract that clearly relate to the joint development
       project, that don’t also say in connection with the joint development project. That’s
       why you have to look at the structure of the agreement in order to interpret specific
       language. For example, in Section 3.1, there’s an $8 million NRE [non-recurring
       engineering] fee that’s paid. It’s clearly for the joint development project, but it doesn’t
       say it’s specifically for the joint development project.

Ex. 2 (9th Cir. Hearing Tr.) at 8:16-24. This is also the exact opposite of what Samsung argued to this

Court in Samsung I, when it repeatedly asserted that the $8 million payment was compensation for a

broad license grant. See, e.g., Samsung I, Dkt. 566 at 57 (“Netlist perpetually licensed 87 patents to

Samsung, including the asserted patents, in an agreement where Samsung paid $8 million.”). Samsung

also alleges that the agreement was improperly terminated:




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        SEC maintains that it did not breach the Agreement, that the Agreement has not been
        terminated, and that it continues to hold a paid-up, worldwide, non-exclusive license
        to Netlist’s patents, including the Patents-In-Suit.

Dkt. 145 at 27. Despite the question of the scope and termination of the JDLA being squarely before

this Court based on Samsung’s pled affirmative defense, shortly after filing its motion to stay, Samsung

unilaterally refused to provide any further discovery on this affirmative defense. Samsung filed a

motion for a protective order seeking to block JDLA discovery as a fig leaf to excuse its practice.

Dkt. 193. In effect, Samsung unilaterally stayed the case as to its affirmative defense by refusing

discovery, and argues the fact that discovery is not complete as a basis for granting the stay.

        B.      The Central District Action

        In August 2021, Netlist and Samsung both moved for summary judgment on whether

Samsung had committed material breach by its failure to supply product (something Samsung

admitted it had failed to do). C.D. Cal., Dkt. 187 at 13 (“Samsung accepted and fulfilled some of the

purchase orders, put some on backlog, and rejected others.”)



                                                                                                     Ex.

5 (C.D. Cal., Samsung SSUF (Dkt. 157-02)), fact #21.

        The Central District held that § 6.2 is unambiguously a mandatory supply obligation that is

not limited to either the joint development project or the product that was intended to come out of

that development (i.e. NVDIMM-P). In doing so, the Central District expressly noted that the JDLA

is specific in its reference to the joint development project and/or joint product when it intends to be,

and that the provisions of the JDLA that do not reference those terms (such as Samsung’s mandatory

supply obligation) cannot be read to include the supposed unstated limitation: “The coexistence of

project-specific provisions and project-nonspecific provisions signals that the parties intended not to

restrict the NAND and DRAM supply obligation to the NVDIMM-P project by omitting any mention



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of it in § 6.2.” Netlist Inc. v. Samsung Elecs. Co., 2021 WL 7186853, at *5 (C.D. Cal. Oct. 14, 2021).

Moreover, because Samsung admitted that it had failed to supply product that Netlist had requested,

breach was undisputed, as was materiality, given that Samsung’s sole materiality argument was that its

proffered interpretation was correct. The Central District then held a trial solely on the issue of the

cost of cover damages (the Central District held that Netlist was precluded from recovering for the

substantial consequential damages and other harm it suffered as a result of Samsung’s failure to comply

with its supply obligation because of a damages limitation provision in the JDLA (§ 12.5)). The jury

did not award the cost of cover damages. The Central District then awarded Netlist nominal damages

and entered judgment in Netlist’s favor.

        C.      Samsung’s Delaware Action

        The day after the Central District granted summary judgment, and before the Central District

jury trial, Samsung rushed to the Delaware District Court and filed a preemptive declaratory relief

action seeking a declaration of non-infringement as to several patents. Samsung Elecs. Co. v. Netlist, Inc.,

Case No. 1:21-cv-01453, Dkt. 1 (D. Del. Oct. 15, 2021). One of those patents was the ’912 patent at

issue in this case (the ’912 patent was dismissed from the Delaware action by Judge Andrews). Despite

the summary judgment ruling against it, Samsung’s complaint asserted that “Netlist has, without

justification, unilaterally attempted to terminate a November 2015 Joint Development and License

Agreement (‘Agreement’) in which Netlist granted Samsung a perpetual, paid-up, worldwide license

to, among others, the Patents-in-Suit.” Id. at ¶ 2 (emphasis added). Samsung has also asserted a license

defense. Id., Dkt. 62 at 26-27. While Samsung speaks of judicial economy, Samsung’s behavior

confirms that it is appropriate for another court adjudicating patent infringement to assess Samsung’s

license defense while the Central District case is ongoing. Indeed, just a few weeks ago, Samsung filed

a new declaratory judgment action in Delaware on a recently issued Netlist patent, once again asserting

that it is licensed. Samsung Elecs. Co., Ltd. v. Netlist, Inc., No. 1:23-cv-1122-UNA (October 9, 2023).



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        D.      The First Eastern District Of Texas Action

        After Samsung filed its Delaware declaratory judgment action, Netlist filed an action in this

Court (“Samsung I”). In Samsung I, Samsung took the position that the license grant in the JDLA is

broad: “The plain language of the JDLA unambiguously licenses all semiconductor products except

Foundry Products and is not limited to the Joint Development Project.” Samsung I, Dkt. 290 at 2

(emphasis added). Samsung also claimed that the consideration for this “broad” license was an $8

million payment under the JDLA. Samsung I, Dkt. 566 at 57 (“Netlist perpetually licensed 87 patents

to Samsung, including the asserted patents, in an agreement where Samsung paid $8 million.”). On

April 5, 2023, this Court held—consistent with the Central District’s holding that the JDLA rights

grants (e.g., supply) that made no explicit reference to the collaboration should be interpreted without

limitation to the collaboration project—that “Samsung had a license until July 15, 2020,” i.e. the date

on which Netlist terminated the JDLA. Samsung I, Dkt. 432 at 2.

        E.      Samsung’s Ninth Circuit Appeal Of The Central District’s Ruling

        Samsung appealed the Central District’s summary judgment ruling to the Ninth Circuit. In

that appeal, Samsung reversed course on multiple issues.

        For example, in the Central District (and this Court), Samsung represented (as an undisputed

fact) that “it considered the $8 million as consideration for Netlist’s grant of patent licenses . . . .” C.D.

Cal., Samsung SSUF (Dkt. 168-2), fact #62. However, in the Ninth Circuit, Samsung represented that

“there’s an $8 million NRE fee that’s paid. It’s clearly for the joint development project, but it doesn’t

say it’s specifically for the joint development project.” Ex. 2 (9th Cir. Hearing Tr.) at 8:16-24. As

another example, Samsung told the Central District that the absence of reference to collaboration in

a grant of rights clause means the clause is not limited to the collaboration: “Sections 7 [release] and

8 [license] do not deal with the JDLA and the joint development. . . So I very clearly will say to the

jury in this case, if I get there, your Honor, Section 7 and Section 8 don’t apply to joint development.”



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C.D. Cal. Dkt. 213 (September 20, 2021 MSJ Hearing Tr.) at 23:16-23. Whereas, in the Ninth Circuit,

Samsung made the opposite argument, asserting that the fourth recital discussing the license grant in

reference to the collaboration meant that the clause was limited to collaboration:

        [T]he recitals are very clear -- and parties put recitals in agreements to make sure
        language isn’t tortured down the road by lawyers and courts, right? Here’s what our
        purpose is, interpret this agreement consistent with our purpose. And when you look
        at the recitals, what does it say about the licenses? Whereas in connection with their
        collaboration hereunder, the parties wish to grant to each other a cross-license under
        each party’s patents. The licenses are being given in connection with the
        collaboration. That’s the joint development project.

Ex. 2 (9th Cir. HT) at 15:10-21 (emphasis added). In other words, Samsung’s argument to the Ninth

Circuit was that the JDLA provisions that do not expressly refer to the joint development project

should still be interpreted as being limited to that project in light of recital four.

        Samsung partially succeeded. In an unpublished 2-1 decision, the majority upheld multiple

rulings of the Central District, but reversed the grant of summary judgment on the supply clause, § 6.2.

The Ninth Circuit conceded that the Central District’s initial assessment made sense Netlist Inc., 2023

WL 6820683, at *1 (“Standing alone, the plain language of § 6.2 favors Netlist’s interpretation: that

Samsung must fulfill all NAND and DRAM orders by Netlist for whatever purpose.”), but,

nevertheless, remanded for the Central District to consider in the first instance whether extrinsic

evidence would create an issue of material fact on supply clause interpretation. The Ninth Circuit also

reversed and remanded as to the materiality of Samsung’s breach, finding that a disputed fact issue

existed. Netlist Inc., 2023 WL 6820683, at *3; see also, e.g., Hall v. GE Plastic Pac. PTE Ltd., 327 F.3d 391,

396 (5th Cir. 2003) (‘Statements made in a previous suit by an attorney before the court can be imputed

to a party and subject to judicial estoppel.”).

        Samsung’s Motion here overstates the scope and implications of the Ninth Circuit’s holding.

Samsung claims that as a result of the Ninth Circuit’s order, “Samsung’s license to the asserted patents

is in full force and effect.” Mot. at 2. The Ninth Circuit held no such thing. The JDLA has a prescribed



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process for termination. Netlist followed that process to the letter (as Judge Scarsi held, and as an

issue that Samsung never appealed) by sending Samsung written notice of breach and giving Samsung

30 days to cure. Netlist Inc., 2021 WL 7186853, at *10. Although Samsung has contended here that the

termination was “erroneous” (Mot. at 2), that is an issue to be tried to the jury in April if the Court

finds that the extrinsic evidence creates a material dispute of fact.

        Moreover, Samsung’s license defense is unlikely to succeed at trial. First, even though the

Ninth Circuit held that the scope of Samsung’s supply obligation is ambiguous, Samsung’s attempt to

add an implicit joint development project limitation where the parties chose not to include it remains

improper under New York law. Quadrant Structured Prod. Co. v. Veritin, 23 N.Y. 3d 549, 560 (2014)

(“Even where there is ambiguity, if the parties to a contract omit terms—particularly terms that are

readily found in other, similar contracts—the inescapable conclusion is that the parties intended the

omission.”) (emphasis added). It is precisely for this reason that the Ninth Circuit noted that, even

with ambiguity, it still remains to be determined “whether the extrinsic evidence ‘creates a genuine

issue of material fact’ as to the [supply] provision’s meaning.” Netlist Inc., 2023 WL 6820683, at *1.

And, even if the supply clause is found to be limited to the collaboration, based on Samsung’s

arguments before the Ninth Circuit, then so too would the license clause be limited.

        Second, Samsung’s breach of the supply provision was clearly material. Samsung has already

admitted: “[I]f [§] 6.2 is construed as Netlist is saying, that would have been the most important part

of this contract by far. It would have outweighed anything else in the contract.” C.D. Cal. Dkt. 213

(September 20, 2021 MSJ Hearing Tr.) at 17:22-25. And Samsung has repeatedly acknowledged that

its conduct would substantially harm Netlist. An internal Samsung email stated that



                                                  During his deposition,




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III.    ARGUMENT

        As this Court has held, the party seeking a discretionary stay (here, Samsung) bears the burden

of proving it is appropriate. Saint Lawrence Comms. v. ZTE Corp., Case No. 2:15-CV-349-JRG, 2017 WL

3396399, at *1 (E.D. Tex. Jan. 17, 2017). The factors are: “(1) whether a stay will unduly prejudice or

present a clear tactical disadvantage to the non-moving party; (2) whether a stay will simplify the issue

in question and trial of the case; and (3) whether discovery is complete and whether a trial date has

been set.” Id. As demonstrated below, all three factors favor not staying this case.

        A.      A Stay Would Substantially Prejudice Netlist

        Netlist has a “right to timely enforcement of its patent rights.” Id. at *2; see also Trover Grp. v.

Dedicated Micros USA, 2015 WL 1069179, at *2 (E.D. Tex. Mar. 11, 2015) (noting “the general right of

patent owners to timely enforcement of their patent rights.”); Realtime Data LLC v. Actian Corp., 2016

WL 3277259, at *2 (E.D. Tex. June 14, 2016) (same). Staying this case at this juncture would cause

Netlist substantial prejudice.

        First, Netlist’s complaint seeks injunctive relief. Dkt. 100 at 65. Netlist’s ’215 and ’417 patents-

in-suit expire in 2025, and the ’912 patent expires in early 2026. Because Samsung seeks a stay of

indeterminate length, Samsung’s requested stay would dramatically limit any injunctive relief Netlist



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could seek. Second, the Accused Products in this case are DDR4 LRDIMMs and RDIMMs, which are

now at the end of their life due to the rollout of next generation DDR5 DIMMs. Sheasby Decl. ¶ 3.

A stay will thus eliminate the impact of an injunction and any possibility of Netlist recapturing DDR4

market share. Third, while Samsung argues that “Netlist has licensed its patents to others” (Mot. at

12), Netlist has never granted a bare patent license because its primary focus is product sales. All of

Netlist’s licenses have been part of strategic agreements providing Netlist with major supply sources.

Ex. 7 (SK Hynix Agreement); Ex. 1 (JDLA). In addition, this district has repeatedly recognized a

patentee’s “right to timely enforcement of its patent rights” and its “right to conduct its business.”

Saint Lawrence, 2017 WL 3396399, at *2. This would be true “even if [Netlist] could be made whole by

money damages,” which it cannot. Intell. Ventures v. FedEx Corp., 2017 WL 6559172, at *4 (E.D. Tex.

Dec. 22, 2017) (denying stay). Fourth, the prejudice is especially strong because Samsung seeks a stay

of indeterminate length which undermines the “public interest in the ‘speedy resolution of disputes.’”

Team Worldwide Corp. v. Wal-Mart Stores, Inc., 2018 WL 2722051, at *4 (E.D. Tex. June 6, 2018) (citation

omitted); Invensys Sys. v. Emerson Elec., 2014 WL 4477393, at *3 (E.D. Tex. July 25, 2014) (“Firm trial

settings resolve cases and reduce litigation costs.”).

        Finally, a stay would present a “clear tactical disadvantage to [Netlist].” Realtime Data, 2016

WL 3277259, at * 1. While a jury in this case—where the license is front and center—will have the

opportunity to weigh the implications of Samsung’s inconsistencies on its license defense, Samsung

can disguise this inconsistency in the Central District where its license defense is not being directly

addressed.

        B.      A Stay Will Not Simplify The Issues For Trial

        As demonstrated above, the issue in the Central District is whether Samsung breached its

supply obligation, and, therefore, the license was properly terminated. The issue in this case is whether

Samsung has a license defense. That means that Netlist can prevail in this case if the clauses in the



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JDLA that do not expressly mention the joint development project (including the license and

Samsung’s supply obligation) are interpreted consistently with each other. That is true regardless of

whether they are interpreted narrowly (to only encompass the joint development project and thus

omit the patents here) or broadly (to extend beyond the joint development project and thus confirm

the materiality of Samsung’s breach). Samsung can prevail in California but still lose here. For instance,




                                      Ex. 8 (C.D. Cal., Ho-Jung Kim Depo. Tr.) at 22:11-17 (emphasis

added). If Samsung were to prevail at trial on a limited scope of the supply clause by proffering this

position, it would just mean Samsung loses its license defense here. Consequently, resolution of the

Central District case will not resolve the issues in this case.

        C.      The Stage Of This Case Weighs Against A Stay

        Contrary to Samsung’s assertions, the stage of this case does not favor a stay. As noted above,

fact discovery closes on November 13, 2023, and trial is set for April 15, 2024; the deadline to

substantiallyc document production passed on August 24, 2023 (Dkt. 55); Netlist has produced 50,712

documents spanning 426,362 pages, subpoenaed 12 third parties, and expended significant resources

in preparing opening expert reports which are due November 13. Sheasby Decl. ¶ 2. The Court held

a several-hour claim construction hearing on September 26, 2023 and has already ruled on summary

judgment as to intervening rights (Dkt. 184).

        Samsung’s suggestion that the parties have taken no depositions and that Netlist’s conduct “is

not consistent with that of a party who wishes to complete discovery” (Mot. at 13-14) does not reflect

the reality of this case. The parties have been negotiating over the use of deposition transcripts from

prior litigation to potentially obviate the need for the vast majority of witnesses to be re-deposed. The



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parties exchanged deposition transcripts from Samsung I so that “the parties [could] review these

transcripts over the next week and provide their position by October 20, 2023, as to whether they

believe that a second deposition of these witnesses is required in light of the transcripts.” Ex. 9

(Tishman October 13, 2023 email). Samsung also has unilaterally refused to provide depositions on

its affirmative license defense.

        D.      This Court Is The Only Court That Can Decide The Entire Dispute

        According to Samsung, this Court should “stay this case pending resolution of the remanded

[] C.D. Cal. Case, which will decide whether Samsung is still licensed to Netlist’s patents” Mot. at 14.

The only forum that can definitively decide whether Samsung is licensed is this Court, because the

scope of the license grant is only present before this Court. Samsung’s arguments and proffered

evidence on the scope of the supply clause (that it is limited to collaboration products) would apply

with equal force to the license grant. The court that can definitively decide whether Samsung is licensed

should proceed first. That court is East Texas.

        Samsung prefers to litigate the scope of its supply obligation (§ 6.2) in a vacuum in California,

where Samsung believes it can take inconsistent positions on the JDLA’s scope. That is not a basis

for a stay. If Samsung is truly concerned about efficiency and “a waste of party and judicial resources”

(Mot. at 1), Samsung can stipulate (subject to court approval) to a stay or a transfer of the Central

District action to this Court. See, e.g., Eragen Biosciences v. Necleic Acids Licensing, LLC, 447 F. Supp. 2d

930, 933 (W.D. Wisc. 2006) (“If defendants are concerned that this court’s rulings may conflict with

rulings made by the Florida district court, they may move for a transfer of the Florida case to this

court, where the two cases may be consolidated and the claims tried in one suit.”).

        E.      The First-To-File Rule Does Not Require A Stay

        Samsung incorrectly argues that the “first to file” rule compels a stay. As an initial matter, the

first to file rule is inapplicable because, as explained above, this case is “broader in scope” than the



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Central District action. See, e.g., Encore Wire Corp. v. Copperweld Bimetallics, LLC, 2023 WL 123506, at *5

(E.D. Tex. Jan. 6, 2023). The Central District action addresses a narrow question: whether Netlist

properly terminated the JDLA due Samsung’s breach of the supply provision. This case, however, will

address not only that question, but also whether Samsung infringes and whether the JDLA license

covers the Accused Products. In sum, given that this case is clearly “broader in scope,” the Central

District case is not the “first-filed” action. Encore Wire Corp., 2023 WL 123506, at *5.

        Moreover, Netlist filed the Central District action. Netlist is thus the first-filer if the Central

District is treated as the first-filed forum. The first to file rule is “invoked to protect the plaintiff’s

choice of forum in cases where the defendant has subsequently filed an identical or related suit in a

different forum.” Wiley v. Trendwest Resorts, Inc., 2005 WL 1910934, at *5 (N.D. Cal. Aug. 10, 2005)

(emphasis in original). It thus does not apply to cases in which a “plaintiff has filed [different cases] in

two different jurisdictions.” Id. (emphasis in original).

        Regardless, even if the first to file rule applied, a stay would still not be warranted. The first to

file rule “is not a rigid or inflexible rule to be mechanically applied, but rather is to be applied with a

view to the dictates of sound judicial administration.” In re Toyota Hybrid Brake Litig., 2020 WL 6161495,

at *7 (E.D. Tex. Oct. 21, 2020) (internal quotation marks omitted). Consequently, whether to stay is

within this Court’s discretion. Samsung relies on West Gulf Maritime v. ILA Deep Sea Local 24, 751 F.2d

721 (5th Cir. 1985), but that case does not hold otherwise. There, a mere four days after a New York

court denied the plaintiff’s motion to transfer the first-filed suit to Texas, the plaintiff nonetheless

filed suit in Texas anyway, seeking a preliminary injunction that would have interfered with the New

York court’s authority. Id. at 724-25. In contrast, here, it is unclear when the Central District will

resume its case, and the Central District cannot resolve the entire dispute. Thus, unlike in West Gulf,

the “conservation of judicial resources and comprehensive disposition of litigation” (In re Toyota Hybrid

Brake Litig., 2020 WL 6161495, at *7) firmly weigh against a stay.



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Dated: November 2, 2023                       Respectfully submitted,

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                               CERTIFICATE OF SERVICE

      I hereby certify that, on November 2, 2023, a copy of the foregoing was served to all counsel




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of record via email.

                                                         /s/ Yanan Zhao
                                                         Yanan Zhao


             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

        I hereby certify that the foregoing document and exhibits attached hereto are authorized to be

filed under seal pursuant to the Protective Order entered in this Case


                                                         /s/ Yanan Zhao
                                                         Yanan Zhao




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